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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


ANTHONY T. FULLER,                 )      CV 24-00141 HG-RT
                                   )
            Plaintiff,             )
                                   )
      vs.                          )
                                   )
STATE OF HAWAII; HONOLULU          )
POLICE DEPARTMENT; VERONICA        )
SEDENO; KAMUELA PETTUS,            )
                                   )
            Defendants.            )
                                   )


                 ORDER ADOPTING MAGISTRATE JUDGE’S
  FINDINGS AND RECOMMENDATION TO DENY PLAINTIFF'S APPLICATION TO
            PROCEED WITHOUT PREPAYING FEES (ECF No. 31)


      The Findings and Recommendation having been filed and served

on all parties on November 13, 2024, and no objections having

been filed by any party,

      IT IS HEREBY ORDERED AND ADJUDGED that, pursuant to Title

28, United States Code, Section 636(b)(1)(C) and Local Rule 74.1,

the Findings and Recommendation to Deny Plaintiff's Application

to Proceed Without Prepaying Fees (ECF No. 31) is adopted as the

opinion and order of this Court.

      IT IS SO ORDERED.

      Dated: Honolulu, Hawaii, December 4, 2024.
